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UNITED STATES OF AMERICA                     §                               llcput~-
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                                             §
vs.                                          §    NO. 4:15-CR-152-A
                                             §
ERIC SUMMERS, ET AL.                         §



                                          ORDER

        On February 2, 2016, Robert E. Luttrell,                III    (•Luttrell"),

the court-appointed attorney for defendant MATTHEW RYAN THOMPSON

("Thompson•)       in the above-captioned case, filed a motion to

withdraw as counsel for Thompson.                 The wording of the motion to

withdraw is virtually identical to one that was recently filed by

the retained attorney for co-defendant Phillip Schenck

("Schenck•).        The court now has under consideration the

possibility of granting the motion to withdraw as to Schenck, and

the court has indicated that such motion probably will be granted

if Schenck and his defense counsel were to do certain things that

they so far have failed to do.               However, the court views

differently a court-appointed attorney's motion to withdraw as

counsel rather than to continue on as counsel during an appeal.

       When Luttrell applied for membership on the Criminal Justice

Act Voluntary Panel, he answered "Yes• to the question • [w]ould

you like to be appointed to:              Represent Defendants in criminal

trials     (appointments usually include representation on appeal)?".
     Case 4:17-mc-00012-A Document 2 Filed 03/14/17                   Page 2 of 3 PageID 5


When Luttrell was appointed to represent Thompson, he signed and

filed an Entry of Appearance of Counsel in which he expressed the

following understanding:

             I understand that it is my duty to continue to
        represent the named defendant in connection with all
        matters relating to this case, and in connection with
        all proceedings therein in this Court; to assist
        him/her with any appeal which he/she desires to
        perfect, and to represent him/her on appeal until a
        final judgment has been entered; unless and until,
        after written motion filed by me, I am relieved by
        Order of the Court.

Doc. 119. 1

        The docket of this case contains an entry pertaining to

Luttrell's appointment of counsel for Thompson that says "[t]his

appointment continues through any appeal unless counsel is

relieved by court order for good cause shown."                             Doc. 109.

        If Luttrell is incompetent to handle Thompson's appeal, the

court would consider that to be good cause for allowing Luttrell

to withdraw.          Luttrell does not allege in his motion to withdraw

that he is incompetent to represent Thompson on Thompson's

appeal, only that he "does not handle appeals."                             Doc. 321.         The

fact that Thompson intends to seek to assert on appeal

ineffective assistance of counsel is not good cause for allowing

Luttrell to withdraw.


        1
         The "Doc._" references are to the numbers assigned to the referenced items on the docket in
this Case No. 4: 15-CR-152-A.

                                                  2
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     Therefore, the court is denying Luttrell's motion to

withdraw without prejudice to refiling if he considers that he

does not have the level of competence required to represent

Thompson on an appeal.     Whatever facts are stated in such a

refiled motion must verified by the affidavit or statutory

declaration of Luttrell.

     In the meantime, Luttrell is to take whatever steps are

necessary to assist Thompson in the pursuit of Thompson's appeal.

     THE COURT SO ORDERS.

     SIGNED February 4, 2016.




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